

Matter of Keithley (2020 NY Slip Op 03969)





Matter of Keithley


2020 NY Slip Op 03969


Decided on July 16, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: July 16, 2020

PM-86-20

[*1]In the Matter of Graham Carter Keithley, an Attorney. (Attorney Registration No. 4987467.)

Calendar Date: July 6, 2020

Before: Lynch, J.P., Clark, Pritzker, Reynolds Fitzgerald and Colangelo, JJ.


Graham Carter Keithley, Washington, DC, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Graham Carter Keithley was admitted to practice by this Court in 2012 and lists a business address in Washington, DC with the Office of Court Administration. Keithley now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Keithley's application.
Upon reading Keithley's affidavit sworn to February 18, 2020 and filed February 21, 2020, and upon reading the July 2, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Keithley is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Lynch, J.P., Clark, Pritzker, Reynolds Fitzgerald and Colangelo, JJ., concur.
ORDERED that Graham Carter Keithley's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Graham Carter Keithley's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Graham Carter Keithley is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Keithley is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Graham Carter Keithley shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








